






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00182-CV






John J. Rogers, Jr.; James R. Winton and Burl Richardson, Appellants


v.


Texas Board of Architectural Examiners, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT

NO. D-1-GN-08-004634, HONORABLE GISELA D. TRIANA-DOYAL, JUDGE PRESIDING


						




M E M O R A N D U M   O P I N I O N


		The parties' second joint motion to abate this cause is GRANTED, and the appeal is
ABATED until February 9, 2012.  The parties shall submit either a motion to reinstate or a
joint&nbsp;status report concerning the status of settlement negotiations no later than February 9, 2012. 
Upon reinstatement, motions for rehearing will be due no later than the tenth day
following&nbsp;reinstatement.


							_______________________________________

							J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Abated

Filed:   November 15, 2011


